     Case
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11
12
                                 UNITED STATES DISTRICT COURT
13                            IN AND FOR THE DISTRICT OF NEVADA

14    UNITED STATES OF AMERICA,                 )
                                                )
15
                           Plaintiff,           )
16                                              )      Case No.:     2:12-CR-00063-PMP-NJK
      vs.                                       )
17                                              )      PROPOSED ORDER GRANTING
      MELISSA HACK,                             )      DEFENDANT’S MOTION FOR
18                                              )      CONTACT VISITATION
19                    Defendant.                )
      ______________________                    )
20
                    NOW COMES the Defendant, Melissa Hack, upon her Motion for Contact
21
22    Visitation with her infant son. GOOD CAUSE APPEARING, and for the reasons set forth

23    in the defendant’s Motion for Contact Visitation, the Motion is GRANTED. The Warden at

24    Nevada Southern Detention Center may fashion such security measures as are
25
      appropriate to ensure the safety and security of the detention center and to facilitate
26
      contact visitation between Melissa Hack and her infant son, Killian. The child may be
27
      brought through security by the following members of the defense team, together or
28
      separate: E. Brent Bryson, Esq; Gabriel Grasso, Esq; Kimberly C. Stevens, Esq; and
     Case
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      Deborah T. Grey, LCSW. No family member of the defendant Hack other than Killian will
 1
      be permitted to have contact visitation with Melissa Hack. Melissa Hack will be permitted
 2
 3    contact visits with her son one time per month. The defense team shall provide the

 4    Nevada Southern Detention Center notice in advance of such contact visitation.
 5          IT IS SO ORDERED.
 6
            Dated: April 9, 2013.
 7                                                   Hon. Philip M. Pro
                                                     United States District Judge
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